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                   EXHIBIT F
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From:                                           Joseph Sharp
Sent:                                           Thursday, January 21, 2021 1:37 PM
To:                                             Bowler, John M. (john.bowler@troutman.com); 'Henner, Lindsay Mitchell'; 'Hobbs,
                                                Michael D.'
Subject:                                        Keenan's Kids Foundation v. Claggett: Document Production
Attachments:                                    76247514_1-c.pdf


Please see the attached correspondence. John has informed me that Plaintiff intends to dismiss the case. If the case
proceeds, we will need to resolve the discovery issues discussed in the correspondence.
Joe

Joseph Sharp
Shareholder

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"Tier One: Nationally ranked for Commercial Litigation,
U.S.News and World Report's 2021 'Best Law Firms'"




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                                                                                                               Joseph C. Sharp
       January 21, 2021                                                                                        404.253.6028
                                                                                                               404.601.4964 Fax
                                                                                                               jsharp@polsinelli.com
       VIA E-MAIL


       John M. Bowler
       Michael D. Hobbs Jr.
       Lindsay Mitchell Henner
       TROUTMAN PEPPER HAMILTON SANDERS LLP
       600 Peachtree Street, NE, Suite 3000
       Atlanta, Georgia 30308-2216

                      Re:             Keenan’s Kids Foundation, Inc. v. Sean Claggett, United States District
                                      Court, Northern District of Georgia, Atlanta Division, Civil Action File
                                      No. 1:20-cv-01702-WMR: Document Production

       Dear Counsel:

              I am contacting you about the documents Plaintiff produced on January 15, 2021, which
       consisted of 333 pages (241 pages appear to be pages from a website) and videos (all videos except
       one depict Mr. Claggett teaching courses after his affiliation with KBC ended).

               The production is glaringly incomplete and does not reflect the requisite good faith parties
       are obligated to exercise in responding to discovery requests and producing documents. Given the
       requests, the discovery deadline, and our January 8, 2021 conferral, we expected a meaningful and
       more comprehensive production. Therefore, the purpose of this correspondence is to attempt again
       to resolve in good faith a discovery dispute.

              I asked you by email on January 20, 2021 whether you would be supplementing your
       production and have not received a response.

               For the following requested documents, please tell us whether Plaintiff has responsive
       documents, and if so, whether Plaintiff will produce or has produced responsive documents. If
       Plaintiff has produced responsive documents, please state the document numbers of the responsive
       documents and whether additional documents will be produced.

              •      Documents which reflect, identify or describe the trade secrets you allege in your
                     complaint;




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   •   Documents describing with reasonable particularity the “Trade Secret Voir Dire
       Techniques” alleged in your complaint;
   •   Documents demonstrating when Don Keenan and/or Keenan’s Kids Foundation first
       developed the “Trade Secret Voir Dire Techniques” that you allege Mr. Claggett
       misappropriated;
   •   Documents supporting or relating to your contention that Keenan’s Kids Foundation owns
       or has the right to use the trade secrets alleged in your complaint, including any agreements
       whereby Keenan’s Kids Foundation obtained ownership of the alleged trade secrets or
       licensed the alleged trade secrets;
   •   Documents which reflect, refer or relate to the development of the trade secrets alleged in
       your Complaint;
   •   Any and all agreements, including confidentiality agreements, you required Mr. Claggett
       to sign and/or that he entered into when he attended workshops or workdays at Don
       Keenan’s beach house, as alleged in paragraph 61 of your complaint;
   •   Documents reflecting, referring to, or relating to the steps you took to protect any trade
       secrets you allege were shared and entrusted to Mr. Claggett at Don Keenan’s beach house,
       as alleged in paragraph 61 of your complaint;
   •   Plaintiff’s Policies and Procedures;
   •   Employee Handbooks;
   •   Audio and Video recordings discussing or related to voir dire/jury selection (other than
       videos which have been produced), including but not limited recordings of the September
       2014 voir dire seminar;
   •   Materials from voir dire/jury selection seminars;
   •   Communications (e.g., emails) between Mr. Claggett and representatives of Plaintiff
       regarding voir dire/jury selection, trade secrets and/or confidentiality;
   •   Articles, blogs, CLE materials, publications, DVDs and other content related to or
       discussing voir dire/jury selection;
   •   Agreements with employees, officers, directors and instructors which contain
       confidentiality provisions and/or discuss trade secrets;
   •   Board minutes reflecting the discussion of this action and/or trade secrets;
   •   Organizational charts or other documents sufficient to identify Plaintiff’s managerial level
       employees, officers and directors over the last ten years;
   •   Agreements with attendees of voir dire seminars, including the September 2014 voir dire
       seminar;
   •   Documents sufficient to identify the attendees of voir dire/jury selection seminars,
       including the September 2014 seminar;
   •   Documents related to the damages Plaintiff seeks; and
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   •   Monthly, quarterly, and annual financial statements for Keenan’s Kids Foundation for 2017
       to the present. [Plaintiff is seeking “monetary damages” (Plaintiff’s initial disclosures
       Attachment D), “actual losses” and “actual damages” (Amended Complaint). You told me
       that you may withdraw such damages claims but they have not been withdrawn. As we
       also discussed, financial information is also relevant to whether Plaintiff is primarily a
       charity as represented in the Amended Complaint.]
         We request you respond in writing to this correspondence and complete your document
production by January 29, 2021. If we do not receive a written response and a complete production
(i.e., production of all non-objectionable non-privileged responsive documents including those
listed above) by January 29, 2021, we will be forced to seek Court intervention.

                                            Sincerely,

                                            /s/ Joseph C. Sharp
                                            Joseph C. Sharp
